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     1                   UNITED STATES DISTRICT COURT

     2                     NORTHERN DISTRICT OF OHIO

     3                             EASTERN DIVISION

     4       *   *   *     *    *    *   *   *   *     *   *   *   *   *   *

     5      IN RE:       NATIONAL PRESCRIPTION OPIATE LITIGATION

     6      This Document relates to:

     7      Case Track 8                             MDL No. 2804
                                                     Case No. 17-md-2804
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             *   *   *    *    *    *    *   *   *    *    *   *   *   *   *
     9
                                HIGHLY CONFIDENTIAL
    10
                  SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
    11

    12    REMOTE VIDEOTAPED DEPOSITION OF LINDSAY BURCKHALTER

    13
                                  August 11, 2023
    14                        10:06 a.m. to 2:28 p.m.

    15                 REPORTED BY ANITA KORNBURGER
                     REGISTERED PROFESSIONAL REPORTER
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     1         Q.    Okay.   And what about the number of

     2    pharmacy supervisors that you oversee, has that

     3    changed from seven?

     4         A.    Yes, ma'am.

     5         Q.    Okay.   What was -- what did it start at

     6    in February of '22?

     7         A.    Six.

     8         Q.    And are there plans to increase from the

     9    seven?

    10         A.    Potentially in the future.

    11         Q.    And is that dependent on how many stores

    12    there are?

    13         A.    Typically.

    14         Q.    Now, what -- can you describe generally

    15    for me, along with assisting the seven supervisors,

    16    what kind of responsibilities or day-to-day job

    17    duties do you have?

    18         A.    So usually I'm with a supervisor, riding

    19    and visiting pharmacies with them.       There's

    20    meetings throughout the days.      Obviously the normal

    21    office activities of keeping up with e-mail.

    22         Q.    What do you -- why are you visiting

    23    stores?

    24         A.    As part of the role in the -- of the



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     1    supervisor and of me to support the supervisors, we

     2    are in the pharmacy supporting the pharmacies,

     3    making sure that they're compliant, and that any

     4    questions that they have are addressed, and that

     5    we're taking care of our customers the way that we

     6    need to be doing.

     7         Q.    How -- how do you determine whether or

     8    not when you're visiting a pharmacy, it's

     9    compliant?

    10         A.    Following up and making sure that -- that

    11    all of their licensing is posted.       There's various

    12    number of ways that we monitor compliance.          Are you

    13    referring to anything specifically?

    14         Q.    Well, I'm just trying to get a feel for

    15    what you're doing.     For example, if you are riding

    16    with a supervisor and visiting a number of

    17    pharmacies, is there -- on Mondays do you check,

    18    you know, one kind of compliance and on Tuesdays

    19    you do some other kind of compliance?        Just

    20    generally how does your job -- how does your job

    21    work?

    22         A.    Right.    So a pharmacy supervisor is not

    23    going to be in every pharmacy on Monday.        So they

    24    would be checking for all of the different



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     1    the decision.

     2         Q.    Does Publix have anything to do with the

     3    ability of the pharmacist to make a decision?

     4         A.    Publix --

     5               MR. LARSON:    Sorry.   Object to form.     Go

     6    ahead, Lindsay.

     7               THE WITNESS:    Publix hires good

     8    pharmacists that have passed the law exam and

     9    understand the laws, and Publix policy is that they

    10    follow the laws and operate by the code of ethics

    11    of a pharmacist.

    12    BY MS. CONROY:

    13         Q.    So -- but if I understood what you just

    14    told me, then Publix does not have any involvement

    15    with respect to a pharmacist at Publix following

    16    the Controlled Substances Act?       They rely on the

    17    pharmacist itself?

    18               MR. LARSON:    Object to form.     Go ahead,

    19    Lindsay.

    20               THE WITNESS:    Publix's policy is that the

    21    pharmacist follows the laws of their respected

    22    state, the Controlled Substances Act being one of

    23    them.

    24    BY MS. CONROY:



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     1    I've not been concerned that we're not doing so.

     2         Q.    Do you know what the -- the standard is

     3    in the industry for pharmacies or chain pharmacies

     4    with respect to controlled substances programs,

     5    things like that?

     6               MR. LARSON:    Object to form and to scope.

     7    Go ahead, Lindsay.

     8               THE WITNESS:    I'm not really sure what

     9    you're asking me.

    10    BY MS. CONROY:

    11         Q.    Well, let me ask it this way.       You have

    12    only concerned yourself with what Publix does with

    13    respect to the Controlled Substances Act.        You have

    14    not compared Publix in any way with any other

    15    pharmacy or supermarket that has pharmacies.         Would

    16    that be fair to say?

    17               MR. LARSON:    Object to form and scope.

    18    Go ahead, Lindsay.

    19               THE WITNESS:    I don't know that that

    20    would be fair to say.     I think that Publix hires

    21    good pharmacists.     We trust them to exercise their

    22    corresponding responsibility.      They know the laws.

    23    They pass the law exam.     Most are coming out with a

    24    doctorate degree.     We -- it's -- yeah.



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     1    BY MS. CONROY:

     2         Q.    During your role as a supervisor, you

     3    recall an instance where you had to go back and

     4    look at hard copy prescriptions?

     5         A.    Yes.

     6         Q.    And do you recall what store it was in?

     7         A.    I cannot recall what store it was in.

     8         Q.    And where were those prescriptions

     9    located, the hard copies?

    10         A.    The hard -- we have -- the computer

    11    system has an image of the hard copy, but the hard

    12    copies themselves are either kept in a separate

    13    file from the other prescriptions.

    14         Q.    So when you say you were looking at the

    15    hard copy, you were actually looking at the image

    16    of the hard copy; is that correct?

    17         A.    From memory, yes.     Now, that's not to say

    18    that if I needed to go to the store to get more

    19    information, that that -- that they were not looked

    20    at at that point too.     It just depends on trying to

    21    take care of something quickly if I'm able to do it

    22    via computer or if I need to go to the store.         It's

    23    situational.

    24         Q.    Okay.   But the one that you're talking



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     1    imaged, Publix would never hear about that,

     2    correct, the corporation?

     3         A.    Well, they could make a note in the

     4    patient's profile.     If they didn't scan it in, they

     5    could still do that.

     6         Q.    Now, before the break you were talking to

     7    me about some situations where you noticed a

     8    pharmacy was dispensing more controlled substances

     9    than their normal practice.      Do you recall that?

    10         A.    Yes, ma'am.

    11         Q.    And you were also responsible, I believe,

    12    as a supervisor, or maybe also as an operations

    13    manager, for the increasing of thresholds to a

    14    pharmacy with respect to controlled substances; is

    15    that correct?

    16         A.    I can speak to as a supervisor.       I can't

    17    speak to as an operations manager, 'cause it was

    18    more the supervisor's evaluating the need for that

    19    and determining whether or not a threshold increase

    20    when I was a supervisor, again, was something that

    21    made sense clinically.

    22         Q.    Okay.   Clinically generally, right?

    23    Because it wouldn't be with respect to a single

    24    patient, right?    It would just be generally that



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     1    pharmacy needed more controlled substances

     2    available to it?

     3               MR. LARSON:    Object to form.     Go ahead.

     4               THE WITNESS:    Not necessarily.     One

     5    patient could trigger a threshold.       So it could be

     6    related to one patient.

     7    BY MS. CONROY:

     8         Q.    Okay.   And would there be documentation

     9    of that change, that threshold change?

    10         A.    Typically we would -- the pharmacy would

    11    fill out a threshold increase request form, and

    12    then the supervisor would approve or deny.        But the

    13    conversation most often would happen before the

    14    pharmacy supervisor received the request form.         The

    15    pharmacy team would reach out and discuss what was

    16    going on, their order had been cut.

    17         Q.    Let's take -- I'm going to ask you some

    18    questions about the training of pharmacists with

    19    respect to controlled substances, okay?

    20         A.    Yes, ma'am.

    21         Q.    And we went through your description of a

    22    good pharmacist, and then we also -- and I have it

    23    here -- the R&P, which is P-PUB 702 -- let's take a

    24    look at that and mark that as Exhibit 3.        And this



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     1    BY MS. CONROY:

     2         Q.    No.

     3         A.    -- prescriptions?

     4         Q.    No.   That their pharmacists are

     5    performing the due diligence.      How does Publix keep

     6    track of that?

     7         A.    All right.    So we have --

     8               MR. LARSON:    Sorry, Lindsay.     Object to

     9    form.   Go ahead, Lindsay.

    10               THE WITNESS:    We have various forms of

    11    reporting that are -- that are -- are tools that we

    12    use to make sure that, you know, pharmacies are

    13    filling appropriately and using their clinical due

    14    diligence.

    15    BY MS. CONROY:

    16         Q.    Okay.   And what are those tools?

    17         A.    So we have a C2 pull report.       We have a

    18    three-month adjustment report.       We have manual

    19    inventory adjustment report.      Our pharmacists are

    20    required to do cycle counts on controls.        They do a

    21    monthly perpetual inventory on controls.        Our

    22    supervisors are in their stores on a regular basis,

    23    from time to time, editing bundles of C2

    24    prescriptions or doing random counts to make sure



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      1   balance on hand is accurate.       Loss prevention, in

      2   addition, does similar audits.

      3         Q.     And I understand all of those things with

      4   maybe the exception of the supervisors in the

      5   store.     That is all to determine whether there's

      6   the loss of controlled substances from a pharmacy;

      7   correct?

      8         A.     Not necessarily.    So the C2 pull report

      9   will show trends of dispensing patterns.         And

    10    that's used to determine if a particular drug

    11    entity is being filled more than normal.

    12          Q.     And is that also used to determine if a

    13    pharmacist is filling more than normal?

    14          A.     That would be the starting point, and

    15    then there would be investigations off of that.

    16          Q.     And are you familiar with the use of that

    17    report to investigate origin and investigation of a

    18    Publix pharmacist?

    19          A.     I'm not familiar with the -- personally

    20    investigating a Publix pharmacist from that report,

    21    but filling patterns, potentially.        Researching

    22    that and investigating those.

    23          Q.     And is that something you do as a

    24    pharmacy operators man -- pharmacy operations



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      1   manager?    Do you take a look at trends with respect

      2   to any of the 600 pharmacists in your area?

      3               MR. LARSON:    Object to form.     Go ahead,

      4   Lindsay.

      5               THE WITNESS:    So since I have been in my

      6   role that has transitioned now to a centralized

      7   team of -- centralized compliance team in Publix

      8   that watches for those trends and identifies and

      9   alerts supervisors.

    10    BY MS. CONROY:

    11          Q.    And when did that start?

    12          A.    I want to say 2019.

    13          Q.    And who runs that?

    14          A.    Jonathan Thacker is the compliance

    15    person.    And he has people.

    16          Q.    And so that -- the centralized compliance

    17    team began in 2019?

    18          A.    From memory, it's 2019 or 2020.       Might

    19    have been 2020.

    20          Q.    Okay.   And do you know then whether the

    21    centralized compliance team is monitoring trends

    22    with respect to individual pharmacists and their

    23    filling of controlled substances?

    24          A.    I'm not exactly sure everything that goes



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      1   if there's more things that are the -- let me back

      2   up.   What I'm saying is that as pharmacists

      3   continue to become, you know, providing more

      4   services, there's efficiencies that are built in

      5   to -- to help take some of the burden off the

      6   pharmacists, and they can delegate out.

      7                     One good thing about Publix is that

      8   Publix is run by pharmacists from the very top, and

      9   the decision makers are pharmacists and have been

    10    behind the bench and have practiced, and make

    11    decisions based on what makes sense for pharmacists

    12    and for our patients.

    13    BY MS. CONROY:

    14          Q.    And so as things like the number of

    15    immunizations that are given by a pharmacist or

    16    medication, MTMs, medication therapy that's given

    17    by a pharmacist, there's other -- other

    18    technologies that have come in to help them out, or

    19    they're able to delegate other responsibilities?

    20                MR. LARSON:    Object to form.

    21                THE WITNESS:    Yes.    I'm sorry.

    22                MR. LARSON:    Object to form.       Go ahead,

    23    Lindsay.

    24                THE WITNESS:    Yeah.    So specifically



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      1                STATE OF WISCONSIN  )
                                           )      ss.
      2                COUNTY OF MILWAUKEE )

      3                     I, ANITA KORNBURGER, Registered

      4                Professional Reporter, do hereby certify that

      5                the preceding deposition was recorded by me and

      6                reduced to writing under my personal direction.

      7                     I further certify that said deposition was

      8                taken remotely, with all parties appearing by

      9                videoconference, on August 11, 2023, commencing

    10                 at 10:06 a.m. and concluding at 2:28 p.m.

    11                      I further certify that I am not a relative

    12                 or employee or attorney or counsel of any of

    13                 the parties, or a relative or employee of such

    14                 attorney or counsel, or financially interested

    15                 directly or indirectly in this action.

    16                      In witness whereof, I have hereunto set my

    17                 hand and affixed my seal of office at

    18                 Milwaukee, Wisconsin, this 30th day of August,

    19                 2023.

    20

    21

    22                         __________________________________
                               ANITA KORNBURGER, RPR
    23                         GA# 5698-0782-6740-8384
                               My commission expires April 1, 2024.
    24



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